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               UNITED STATES DISTRICT COURT
                                                                              a
               SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISIO N


UNITED STATES OF AMERICA,         )


v.    )     Case                      No. CR406-390

WAYNE EDWARD SPRINGFIELD,         )
AKA "MICHAEL E . SPRINGFIELD," )
TARA ANTIONETTE JOHNSON,

     Defendants .



                    REPORT AND RECOMMENDATIO N

     Defendant Tara Johnson has moved to suppress certain statements

that she made to federal agents following her arrest on December 15,

2006 . Doc. 36 . Defendant alleges that she was subjected to interrogation

or its functional equivalent after she requested a lawyer and without first

being advised of her rights under Miranda v . Arizona, 384 U.S. 436

(1966) . Doc . 43 . An evidentiary hearing was held on this matter on April

9, 2007. Because the evidence establishes that defendant's statements

were made spontaneously and were not the product of any interrogation
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or questioning by the arresting agents, defendant's motion to suppres s

should be DENIED.

1. Background

      On December 15, 2006, defendant Tara Johnson' was arrested

outside of her home in Savannah, Georgia pursuant to an indictment

charging her and her husband with conspiring to possess and distribute

crack cocaine and with three counts of distributing that drug . Doc. 1 .

Defendant was handcuffed and placed in the back of a police car while

officers searched for defendant's husband, who fled from their residence

when the agents approached. When DEA Task Force Agent Geraldine

Spears asked defendant why her husband was running, defendant made

no response . Although the officers had yet to administer Miranda

warnings to defendant, she requested a lawyer at this time . The agents,

with defendant as a passenger in their vehicle, searched the area for

defendant's husband for approximately thirty to forty-five minutes

before transporting defendant to a DEA office, a trip lasting some five t o




       'Defendant testified that she is married to co-defendant Michael Springfield
and that she now uses Springfield as her last name .
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ten minutes . No statements were made to or by defendant during this

initial transport .'

      After defendant's arrival at the DEA office, she was subjected to

the normal booking process, which included obtaining her personal

history, photograph, and fingerprints . Because defendant had invoked

her right to counsel, agents did not attempt to interrogate defendant

while she was held at the DEA office, and they made an effort to make

her comfortable .' Defendant remained at the DEA office for

approximately one hour before being placed in a second transport to the

Effingham County detention center. After securing defendant in the

back of the second police vehicle, Agent Spears placed a copy of the arrest

warrant on defendant's lap so that she could read it .4 Upon reading th e


       'Although Agent Spears testified that both she and defendant were silent
during the trip to the DEA Office, defendant asserts that Agent Spears made the
following statements : "Why is Michael running?" ; "He must not love you ." ; "Michael
must not love his mother" ; "Michael didn't visit his mother in jail" ; and "We know
everything ." Defendant claims that very similar statements were made by the agents
when they later transported her from the DEA office to jail . After considering the
conflicting testimony and assessing the credibility of the witnesses, the Court finds
that no statements were made to defendant during her preliminary transport to the
DEA office.

      'Defendant testified that because she was diabetic and had not eaten, DEA
agents gave her a bagel and coffee and treated her nicely .

       'It is the DEA's standard operating procedure to provide arrestees a copy of
the arrest warrant.
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warrant, defendant made a number of potentially incriminatory

statements.

      Toward the end of the approximately forty-five minute drive to the

jail, Agent Spears suggested to defendant that if she had any influence

over her husband, she should tell him to turn himself in because

otherwise he would be classified as a fugitive and could face additional

charges . When defendant responded that they were a team, Agent John

Stephens stated that "if he loved you, he'd be sitting right next to you in

the car on the way to the jail ." Defendant alleges that Agent Spears

again asked her why her husband had run and made the following

statements: "He must not love you" ; "if Michael doesn't turn himself in,

then we will put a warrant out for him" ; "no matter where Michael goes,

the U.S. Marshals will find him" ; and "if the U .S. Marshals get behind

Michael, they will shoot him ."'




       'Agent Spears admitted that she told defendant that the U .S. Marshals would
find her husband and that they would place him in fugitive status if he did not turn
himself in, but she denied saying that they would put a warrant out for him, as there
was already a warrant for his arrest, or that the marshals would shoot him . Because
defendant's incriminating statements were made prior to the suggestion that she
encourage her husband to turn himself in, the specifics of the agents' comments are
not particularly relevant in assessing the admissibility of defendant's earlier
statements. The Court, however, does not credit defendant's testimony that she was
told her husband would be shot by the marshals .
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II. Analysis

     It is of course well settled that law enforcement officials may not

conduct a custodial interrogation of a suspect without first advising him

of the rights guaranteed by the Fifth Amendment . Miranda v. Arizona,

384 U .S . 436, 471 (1966) .   Miranda determined that any custodial

interrogation of a suspect involves "inherently compelling pressures

which work to undermine the individual's will to resist and to compel

him to speak where he would not otherwise do so freely ." The Court

therefore created a conclusive presumption that evidence produced by

custodial interrogation is coerced unless the suspect is first informed

"that he has a right to remain silent, that any statement he does make

may be used as evidence against him, and that he has a right to the

presence of an attorney, either retained or appointed," during any

questioning. Id. at 444. If the suspect indicates "in any manner" that he

wishes to consult with an attorney, "the interrogation must cease until

an attorney is present ." Id . at 444, 474 . Once a suspect has expressed

his desire to deal with the police only through counsel, he "is not subject

to further interrogation by the authorities until counsel has been made

available to him, unless the accused himself initiates furthe r
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communication, exchanges, or conversations with the police ." Edwards

v. Arizona , 451 U .S . 477, 484-85 (1981) .

      First of all, there is no credible evidence in the record that the

agents subjected defendant to any form of interrogation before or during

the making of the challenged statements . The Miranda safeguards apply

only to a defendant who is both "in custody" and subjected t o

"interrogation ." Miranda v. Arizona , 384 U .S. at 468 . The Suprem e

Court later defined "interrogation" as referring to both express

questioning by the police and "any words or actions on the part of the

police (other than those normally attendant to arrest and custody) that

the police should know are reasonably likely to elicit an incriminating

response from the suspect ." Rhode Island v . Innis, 446 U.S . 291, 301

(1980) . Here, federal agents neither expressly questioned defendant nor

did anything that was either calculated or likely to induce defendant to

make an incriminating statement . At the time of defendant's arrest, but

before she requested an attorney, Agent Spears asked why defendant's

husband was running from the police . Approximately an hour and forty

minutes later, after initial processing, Agent Spears gave defendant the

warrant, at which time she proceeded to make the incriminatin g
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statements that she is now attempting to suppress . Only after defendant

made these statements did the federal agents make the comments about

her husband that were allegedly an interrogation or the functional

equivalent thereof.' Furthermore, there is no evidence that the federal

agents tried to frighten defendant or make her uncomfortable so as to

"compel" her to make incriminatory statements ; in fact, defendant

testified that the agents had treated her well . The evidence establishes

that defendant made the statements spontaneously after reading the

arrest warrant, not during a custodial interrogation .

      "`Interrogation,' as conceptualized in the Miranda opinion, must

reflect a measure of compulsion above and beyond that inherent in

custody itself." Rhode Island v. Innis, 446 U .S . at 300 . Thus, Miranda

was never meant to apply to all statements taken by the police after a

person has been taken into custody, but only to those statements that

result from "express questioning or its functional equivalent ." Id. at

300-301 . Advising a suspect about the charges after she specificall y




       'Because the agents' comments were made after the statements that defendant
seeks to suppress, the Court need not decide whether they did in fact constitute the
functional equivalent of an interrogation .
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requests such information' has never been construed to be th e

"functional equivalent " of interrogation. See Enoch v . Gramley, 70 F .3d

1490, 1500 (7th Cir . 1995) ("Briefly reciting to a suspect in custody the

basis for holding him, without more, cannot be the functional equivalent

of interrogation .") ; United States v . Payne, 954 F.2d 199, 202 (4th Cir .

1992)("the Innis definition of interrogation is not so broad as to capture

within Miranda's reach all declaratory statements made by police officers

concerning the nature of the charges against the suspect and the

evidence relating to those charges .") ; United States v. Crisco, 725 F .2d

1228, 1232 (9th Cir. 1984) (merely explaining to a suspect why he is being

arrested does not constitute interrogation) ; Plch v. Coplan , 2004 WL

1932825, at *4 (D .N.H . Aug. 31, 2004) . Informing a suspect of the

charges is "normally attendant to arrest and custody" and is therefore

excluded from the definition of "interrogation ."          Rhode Island v . Innis,

446 U.S . at 301 . Thus, despite defendant's request for a lawyer, Agent

Spears did not run afoul of Miranda 's teachings by simply placing the

arrest warrant in defendant's lap and thereby informing her of the

charges for which she was indicted .


     'Defendant testified that she asked to see the warrant at the DEA office .
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III. Conclusion

     Defendant's incriminatory statements during her transport to the

Effingham County detention center were not made in response to

government questioning but constituted a spontaneous, unprompted

utterance . As such, these statements are admissible despite the absence

of Miranda warnings and defendant's request for an attorney . As there

was no violation of defendant's constitutional rights, her motion to

suppress should be DENIED .

     SO REPORTED AND RECOMMENDED this                        /37k day of

April, 2007 .



                                         UNITED STATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGI A




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